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Attorneys for Defendants

TRIBUNE COMPANY, TRIBUNE INTERACTIVE, INC., TRIBUNE MEDIA NET, INC.,
AND LOS ANGELES TIMES COMMUNICATIONS, LLC (erroneously names as LOS
ANGELES TIMES)

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL

JAYNE CLEMENT, on behalf of herself and all) Case No. BC 390943 (CLASS ACTION)
others similarly situated,
ASSIGNED TO THE HON. GREGORY ALARCON;
Dept. 36

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- )
Plaintiffs, )

) NOTICE OF FILING OF VOLUNTARY

) PETITION UNDER CHAPTER 11 OF

) THE BANKRUPTCY CODE BY

) DEFENDANTS TRIBUNE COMPANY
TRIBUNE COMPANY, TRIBUNE ) TRIBUNE MEDIA NET, INC., AND
INTERACTIVE, TRIBUNE MEDIA NET, ) LOS ANGELES TIMES
INC., LOS ANGELES TIMES ) COMMUNICATIONS, LLC
COMMUNICATIONS, LLC, LOS ANGELES )
TIMES, and DOES 1 through 1000, inclusive, )

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Complaint Filed: May 15, 2008
Defendants.

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TRIBUNE COMPANY, TRIBUNE MEDIA NET, INC., and LOS ANGELES TIMES
COMMUNICATIONS, LLC (erroneously named as Los Angeles Times), in the above-captioned
action, respectfully submit as follows:

1. On December 8, 2008 (the ’Petition Date”), Tribune Company and certain of its
subsidiaries (collectively, the *Debtors”), including TRIBUNE MEDIA NET, INC. and LOS
ANGELES TIMES COMMUNICATIONS, LLC, filed voluntary petitions under chapter 11 of

NOTICE OF FILING OF VOLUNTARY PETITION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

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title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware. For the Court’s reference, these cases are being jointly
administered under Case No. 08-13141-KJC, the Honorable Kevin J. Carey, presiding judge.

2. TRIBUNE INTERACTIVE, INC., a subsidiary of Tribune Company, did not file
a petition under chapter 11.

3. Pursuant to section 362(a) of the Bankruptcy Code, all litigation involving the
Debtors, including TRIBUNE COMPANY, TRIBUNE MEDIA NET, INC., and LOS
ANGELES TIMES COMMUNICATIONS, LLC is stayed as of the Petition Date. Accordingly,
the above-captioned action is stayed as to TRIBUNE COMPANY, TRIBUNE MEDIA NET,
INC., and LOS ANGELES TIMES COMMUNICATIONS, LLC.

DATED: December 15, 2008 SEYFARTH SHAW LLP

By.
Timothy M. Rusche

Attorneys for Defendants

TRIBUNE COMPANY, TRIBUNE INTERACTIVE,

INC., TRIBUNE MEDIA NET, INC., AND LOS

ANGELES TIMES COMMUNICATIONS, LLC

(erroneously names as LOS ANGELES TIMES)

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